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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

                        Case No.: _________________________________

SWEDISHANDSTYLISH LLC,
a Florida limited liability company,

         Plaintiff,

v.

CHRISTIAN DIOR, INC.
a New York corporation,

         Defendant.

_______________________________/

                                           COMPLAINT

         Plaintiff Swedishandstylish LLC (“Swedishandstylish”), by and through its undersigned

counsel, for its Complaint against Defendant Christian Dior, Inc. (“Dior”), hereby alleges as

follows:

                                   NATURE OF THE ACTION

         1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Dior’s unauthorized reproduction of two copyrighted photographs

owned and registered by Swedishandstylish. Swedishandstylish seeks injunctive and monetary

relief for Defendant’s infringement.

                                  JURISDICTION AND VENUE

         2.      This Court has subject-matter jurisdiction over this copyright infringement action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         3.      This Court has personal jurisdiction over Defendant because Defendant is

incorporated and headquartered in New York.




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         4.      Venue is proper in this district under 28 U.S.C. § 1400(a) because Defendant

resides in this district.

                                             PARTIES

         5.      Plaintiff Swedishandstylish is a Florida limited liability company. As detailed

further below, Plaintiff is the owner of the registered copyrights in two photographs from the

Instagram account named “swedishandstylish” that have been copied and published without

authorization by Defendant Dior for its commercial gain.

         6.      On information and belief, Defendant Dior is a corporation formed under the laws

of New York and headquartered in Manhattan. Dior is a subsidiary of Paris-based Christian Dior

SE, one of the world’s most famous fashion houses. Dior markets and sells luxury fashion

products, including couture clothing, shoes, handbags, perfumes and cosmetics, watches, and

jewelry.

                                              FACTS

         7.      The Instagram account named swedishandstylish typically features copyrighted

photographs that show a woman wearing designer clothing and/or accessories, often with

additional such fashion items artistically arranged in the frame.

         8.      The swedishandstylish Instagram account has over 168,000 followers, and

photographs posted on the account typically receive between 15,000 to over 150,000 views each.

         9.      One such copyrighted photograph posted on the swedishandstylish Instagram

account is depicted below:




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This photograph, posted in 2017 with a caption that included the phrase “Blue or white,” depicts

a woman wearing and holding Christian Dior shoes and accessories, with others arranged on her

lap, including blue and white sunglasses (the “Blue or White Photograph”).

         10.    Plaintiff Swedishandstylish owns all right, title, and interest in the copyright in the

Blue or White Photograph, including the right to sue for past infringement. That copyright is

federally registered with the United States Copyright Office (U.S. Copyright Reg. No. VA2-157-

967). A copy of the registration is attached as Exhibit A.

         11.    Another photograph that has been posted on the swedishandstylish Instagram

account is depicted here:




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This photograph, posted in 2017 with a caption that included the phrase “Good morning,” depicts

a woman wearing Christian Dior sneakers and a Christian Dior ring while sitting next to

artistically arranged Christian Dior sunglasses and a Christian Dior handbag (the “Good Morning

Photograph”; collectively with the Blue or White Photograph, the “Infringed Photographs”).

         12.    Plaintiff Swedishandstylish owns all right, title, and interest in the copyright in the

Good Morning Photograph, including the right to sue for past infringement. That copyright is

federally registered with the United States Copyright Office (U.S. Copyright Reg. No. VA2-157-

891). A copy of the registration is attached as Exhibit B.

         13.    Plaintiff’s Infringed Photographs are wholly original, and Plaintiff is the exclusive

owner of all rights, title, and interest, including all rights under copyright, in them.

         14.    Defendant promotes and markets its luxury products to its customers using,

among other things, “lookbooks,” which are visually appealing fashion catalogues of well-styled

images that feature Christian Dior products.




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         15.    Beginning some time after the Blue and White Photograph and Good Morning

Photograph were posted on the swedishandstylish Instagram account, Defendant copied those

photographs without any right to do so and prominently featured them in one or more of its

lookbooks, including on the cover of at least one lookbook.

         16.    Defendant used the lookbooks featuring the Infringed Photographs to, among

other things, market and promote Defendant’s products, including but not limited to members of

the public who are its end customers.

         17.    At no time did Defendant have, or seek, authority or permission to use the

Infringed Photographs in any way.

         18.    Defendant knowingly copied, displayed, and distributed the Infringed

Photographs for its own commercial gain to reap the benefit and value associated with the

Infringed Photographs, without any authorization, consent, or knowledge from the copyright

owner, and without any compensation to the copyright owner.

         19.    By failing to obtain authorization from the copyright owner to use the Infringed

Photographs or to compensate the copyright owner for Defendant’s use, Defendant has avoided

payment of license fees and other financial costs associated with obtaining permission to exploit

the Infringed Photographs, as well as the restrictions to which the copyright owner is entitled to

and would place on any such exploitation, including the right to deny permission altogether.

         20.    As a result of Defendant’s actions described above, Plaintiff Swedishandstylish

has been directly damaged, and is continuing to be damaged, by the unauthorized reproduction,

publication, distribution, and public display of the Infringed Photographs.




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          21.   Upon information and belief, Defendant's acts are causing, and unless restrained,

will continue to cause damage and immediate irreparable harm to Plaintiff for which Plaintiff has

no adequate remedy at law.

          22.   Plaintiff Swedishandstylish seeks all remedies afforded by the Copyright Act,

including permanent injunctive relief, damages, Defendant’s profits, and/or statutory damages

from Defendant’s willfully infringing conduct, and other monetary relief.

                                           COUNT ONE
                 Federal Copyright Infringement (Blue Or White Photograph)
                                          (17 U.S.C. § 501)
          23.   Plaintiff repeats and realleges paragraphs 1 through 22 hereof, as if fully set forth

herein.

          24.   The Blue or White Photograph is an original photograph containing copyrightable

subject matter for which copyright protection exists under the Copyright Act, 17 U.S.C. § 101,

et. seq. Plaintiff is the exclusive owner of rights under copyright in and to the Blue or White

Photograph. Plaintiff owns a valid copyright registration for the Blue or White Photograph.

          25.   Through Defendant’s conduct alleged herein, including Defendant’s reproduction,

distribution, and public display of the Blue or White Photograph without Plaintiff's permission,

Defendant has infringed Plaintiff’s exclusive rights in the Blue or White Photograph in violation

of Section 501 of the Copyright Act, 17 U.S.C. § 501.

          26.   On information and belief, Defendant's infringing conduct alleged herein was and

continues to be willful and with full knowledge of Plaintiff's rights in the Blue or White

Photograph, and has enabled Defendant illegally to obtain profit therefrom.




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          27.   As a direct and proximate result of Defendant's infringing conduct alleged herein,

Plaintiff has been harmed and is entitled to its damages and Defendant’s profits pursuant to 17

U.S.C. § 504(b).

          28.   Alternatively, Plaintiff is entitled to the maximum statutory damages permitted

pursuant to 17 U.S.C. § 504(c) for Defendant's willful infringing conduct for each of Plaintiff's

works that Defendant has infringed and for such other amount as may be proper pursuant to 17

U.S.C. § 504(c).

          29.   Plaintiff further is entitled to its attorneys’ fees and costs pursuant to 17 U.S.C.

§ 505.

          30.   As a direct and proximate result of the Defendant's infringing conduct alleged

herein, Plaintiff has sustained and will continue to sustain substantial, immediate, and irreparable

injury, for which there is no adequate remedy at law. On information and belief, unless

Defendant's infringing conduct is enjoined by this Court, Defendant will continue to infringe the

Blue or White Photograph. Plaintiff therefore is entitled to permanent injunctive relief restraining

and enjoining Defendant's ongoing infringing conduct.



                                           COUNT TWO
                 Federal Copyright Infringement (Good Morning Photograph)
                                          (17 U.S.C. § 501)
          31.   Plaintiff repeats and realleges paragraphs 1 through 22 hereof, as if fully set forth

herein.

          32.   The Good Morning Photograph is an original photograph containing

copyrightable subject matter for which copyright protection exists under the Copyright Act, 17

U.S.C. § 101, et. seq. Plaintiff is the exclusive owner of rights under copyright in and to the



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Good Morning Photograph. Plaintiff owns a valid copyright registration for the Good Morning

Photograph.

         33.    Through Defendant’s conduct alleged herein, including Defendant’s reproduction,

distribution, and public display of the Good Morning Photograph without Plaintiff's permission,

Defendant has infringed Plaintiff’s exclusive rights in the Good Morning Photograph in violation

of Section 501 of the Copyright Act, 17 U.S.C. § 501.

         34.    On information and belief, Defendant's infringing conduct alleged herein was and

continues to be willful and with full knowledge of Plaintiff's rights in the Good Morning

Photograph, and has enabled Defendant illegally to obtain profit therefrom.

         35.    As a direct and proximate result of Defendant's infringing conduct alleged herein,

Plaintiff has been harmed and is entitled to its damages and Defendant’s profits pursuant to 17

U.S.C. § 504(b).

         36.    Alternatively, Plaintiff is entitled to the maximum statutory damages permitted

pursuant to 17 U.S.C. § 504(c) for Defendant's willful infringing conduct for each of Plaintiff's

works that Defendant has infringed and for such other amount as may be proper pursuant to 17

U.S.C. § 504(c).

         37.    Plaintiff further is entitled to its attorneys' fees and costs pursuant to 17 U.S.C.

§ 505.

         38.    As a direct and proximate result of the Defendant's infringing conduct alleged

herein, Plaintiff has sustained and will continue to sustain substantial, immediate, and irreparable

injury, for which there is no adequate remedy at law. On information and belief, unless

Defendant's infringing conduct is enjoined by this Court, Defendant will continue to infringe the




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Good Morning Photograph. Plaintiff therefore is entitled to permanent injunctive relief

restraining and enjoining Defendant's ongoing infringing conduct.

         WHEREFORE, Plaintiff requests judgment against Defendant as follows:

         1.      That Defendant has committed copyright infringement in violation of Section 501

of the Copyright Act (17 U.S.C. § 501), and that its infringement has been willful, in disregard of

and with indifference to Plaintiff’s rights;

         2.      Granting an injunction permanently enjoining the Defendant, its employees,

agents, officers, directors, attorneys, successors, affiliates, parent, subsidiaries, and assigns, and

all of those in active concert and participation with any of the foregoing persons and entities who

receive actual notice of the Court’s order by personal service or otherwise, from:

                 a.     reproducing, distributing, or displaying the Infringed Photographs and any

         products, works, or other materials that include, copy, are derived from, or otherwise

         embody one or both of the Infringed Photographs; and

                 b.     aiding, assisting, or abetting any other individual or entity in doing any act

         prohibited by sub-paragraph (a).

         3.      That Defendant be ordered to provide an accounting of Defendant's profits

attributable to Defendant's infringing conduct, including Defendant's profits from sales derived

from exploitation of the Infringed Photographs or any products, works, or other materials that

include, copy, are derived from, or otherwise embody one or both of the Infringed Photographs.

         4.      That Defendant be ordered to destroy or deliver up for destruction all materials in

Defendant's possession, custody, or control used by Defendant in connection with Defendant's

infringing conduct, including without limitation all remaining copies of the Infringed




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Photographs and any products and works that embody any reproduction or other copy or

colorable imitation of one or both of the Infringed Photographs.

         5.       That Defendant, at its own expense, be ordered to recall any products, works, or

other materials that include, copy, are derived from, or otherwise embody one or both of the

Infringed Photographs, and that Defendant be ordered to destroy or deliver up for destruction all

materials returned to it.

         6.       Awarding Plaintiff:

                  a.     Defendant’s income, profits, or other benefits obtained as well as

         Plaintiff’s damages sustained as a result of Defendant's infringing conduct pursuant to 17

         U.S.C. § 504(b), or the maximum available statutory damages pursuant to 17 U.S.C.

         § 504(c);

                  b.     Plaintiff’s reasonable attorneys’ fees and costs pursuant to 17 U.S.C.

         § 505; and

                  c.     pre-judgment and post-judgment interest on the foregoing sums; And

         7.       Awarding such other and further relief as the Court deems just and proper.




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                                           JURY DEMAND
         Plaintiff demands a trial by jury on all issues so triable.


Date: March 9, 2020.

                                                 Respectfully submitted,

                                                 __/s/ David Brafman_____________________
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